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 5                                                           The Honorable MARSHA J. PECHMAN
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   CASSIE CORDELL TRUEBLOOD, next                         NO. 2:14-cv-1178 MJP
     friend of A.B., an incapacitated person, et al.,
10                                                          DECLARATION OF
                                Plaintiffs,                 RICHARD PANNKUK
11
            v.
12
     THE WASHINGTON STATE
13   DEPARTMENT OF SOCIAL AND
     HEALTH SERVICES, et al.,
14
                                Defendants.
15

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17          I, RICHARD PANNKUK, am over the age of 18 years of age, competent to testify to

18   the matters below, and declare based upon personal knowledge:

19          1.      I am the Assistant Secretary for the Finance, Facilities and Analytics

20   Administration (FFA) and the Chief Financial Officer for the Department of Social and Health

21   Services (the Department). I make this declaration based on my personal knowledge and review

22   of business records maintained at the Department in the normal course of business.

23          2.      As Assistant Secretary, I manage operational issues for over 1,000 staff within

24   eleven offices across the state of Washington to include strategic planning, performance

25   management, human resources, employer relations, quality assurance, and risk management. I

26   develop long-term strategic plans that support resources allocation, priority setting, and budget


     DECL. OF RICHARD PANNKUK                           1              ATTORNEY GENERAL OF WASHINGTON
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 1   development for the Administration’s full range of programs and services. I manage complex,
 2   cross-agency, multi-million-dollar projects that support over 2 million clients; to include
 3   Behavioral Health transformation and Integrated Eligibility and Enrollment.
 4          3.      Preceding my current position, I spent three years as the Deputy Assistant
 5   Secretary for FFA. Prior to this I served as a Senior Budget Assistant for the Governor’s Office
 6   of Financial Management from 2012 until 2019, where I directly managed the Office of
 7   Financial Management’s (OFM) health and human services portfolio, including making high
 8   level budget and legislative recommendations to the Governor. I served as the Director for the
 9   Department’s Division of Finance and Operation Support from 2004 until 2012, and was
10   responsible for overseeing the biennial and supplemental budgets for the Children’s
11   Administration, encompassing $1 billion and 2,800 staff.
12          4.      I am aware of a recent Order in this matter, dated July 7, 2023, and directing the
13   Department to pay $100,318,000.00, from a larger amount of fines held in abeyance.
14          5.      This is a significant amount of money for the Department, and equals
15   approximately 6.9% of the Behavioral Health Administration’s total biennial, legislatively
16   appropriated, budget of $1,448,984,000 dollars.
17          6.      We are still early in the first year of this two year budget, and so the Department
18   would be able to access these funds now, to pay the Court. Said differently, the Department
19   currently has more than $100,318,000 in unspent funds remaining in its budgeted appropriation
20   that it would be able to redirect to pay the fine, rather than for the services for which the
21   appropriation was intended.
22          7.      Were the Department to spend this money now, however, it would risk detriment
23   to individuals in need of the behavioral health services it must provide. Specifically, there
24   would be risk that the legislature did not grant the Department any supplemental funds in its
25   next legislative session, and then that the Department would eventually run out of funds
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 1   prematurely and prior to the end of this biennium. As a result, the Department would be forced
 2   to reduce numbers of staff or cease provision of certain behavioral health programs.
 3          8.      Accordingly, I believe the better, and more comprehensive mechanism for
 4   obtaining the money to pay the $100,318,000.00 would be to make a request for supplemental
 5   funds to the Legislature, so that they could weigh that request holistically during their next
 6   session, and ideally provide additional funds so that these fines could be paid without a
 7   reduction in any services elsewhere.
 8          9.      My understanding of the legislative process includes understanding that the next
 9   legislative session is a shorter 60 day session, to begin on January 8, 2024. I believe the soonest
10   that “early legislative action” could occur would be January 31, 2024; that the session is set to
11   end on March 8, 2024, and that it may take until April 15, 2024 for the Governor to sign any
12   bills, including funding and supplemental budget bills.
13          I declare under penalty of perjury under the laws of the United States and the State of
14   Washington that the foregoing is true and correct to the best of my knowledge.
15          Signed this 3rd day of August 2023, at __________________, Washington.
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18                                          RICHARD PANNKUK
                                            Assistant Secretary, CFO
19                                          Facilities, Finance and Analytics Administration
                                            Department of Social and Health Services
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 1                                    CERTIFICATE OF SERVICE
 2          I, Marko Pavela, state and declare as follows:
 3          I am a citizen of the United States of America and over the age of 18 years and I am
 4   competent to testify to the matters set forth herein. I hereby certify that on this ____ day of
 5   _______ 2023, I caused to be electronically filed with foregoing document with the Clerk of the
 6   Court using the CM/ECF system, which will send notification of such filing to the following:
 7          David Carlson: davidc@dr-wa.org
 8          Kimberly Mosolf: kimberlym@dr-wa.org
 9          Elizabeth Leonard: bethl@dr-wa.org
10          Christopher Carney: Christopher.Carney@CGILaw.com
11          Sean Gillespie: Sean.Gillespie@CGILaw.com
12          David JW Hackett: david.hackett@kingcounty.gov
13          I certify under penalty of perjury under the laws of the state of Washington that the
14   foregoing is true and correct.
15          Dated this ____________ day of August 2023.
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18                                               MARKO PAVELA
                                                 Assistant Attorney General
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